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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

Marc Henretta,

           Plaintiff,                     Case No.:
                                          Hon.
     vs.

FCA Group LLC,

           Defendant.

Michael L. Pitt (P24429)
Channing Robinson-Holmes (P81698)
Pitt McGehee Palmer & Rivers PC
Attorneys for Plaintiff
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                        COMPLAINT AND JURY DEMAND

     Plaintiff Marc Henretta brings this action for wrongful discharge and civil

rights violations under the Family and Medical Leave Act (“FMLA”) and

Michigan’s Persons with Disabilities Civil Rights Act (“PDCRA”) against

Defendant FCA Group LLC (“FCA”) and states as follows:

                   JURISDICTION, VENUE, AND PARTIES

     1.    This wrongful discharge case asserted by Mr. Henretta is based on

disability discrimination and retaliation brought pursuant to the Family and
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Medical Leave Act (“FMLA”), 29 U.S.C. 2601, and Michigan’s Persons with

Disabilities Civil Rights Act (“PDCRA”), MCL 37. 1101 et seq.

       2.        The jurisdiction of this Court over this controversy is based on 28

U.S.C. §1331, to enforce the provisions of the FMLA.

       3.        This Court also has supplemental jurisdiction under 28 U.S.C. §

1367 to address the claims brought under Michigan’s PDCRA because they are

so related to the federal law claims that they form part of the same case or

controversy.

       4.        Venue is proper because the events giving rise to this action

occurred in this district and division, and all parties reside in or operate within

this district.

                                STATEMENT OF FACTS

       5.        On November 5, 1984, Plaintiff Marc Henretta began his long and

distinguished career in marketing and sales at FCA.

                                  Mr. Henretta’s Disability

       6.        In October of 1989, Mr. Henretta was involved in a motorcycle

accident that left him a paraplegic.

       7.        Mr. Henretta took a short-term medical leave of absence in order

to treat his injuries.




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        8.    Upon Mr. Henretta’s return to work, until the date of his

termination, he required intermittent leave from work in order to cope with

medical conditions related to his paraplegia, such as digestive problems and

related stomach pain.

        9.    On average, Mr. Henretta was absent from work due to digestive

issues and stomach pain related to his paraplegia between 12 and 20 times per

year.

        10.   Mr. Henretta utilized his vacation days for most, if not all, of Mr.

Henretta’s absences caused by digestive issues and stomach pain.

        11.   Mr. Henretta further underwent approximately nine surgeries to

treat medical conditions related to his paraplegia.

                  Mr. Henretta’s Distinguished Career at FCA

        12.   Over the course of Mr. Henretta’s career, he excelled in his work

routinely receiving glowing praise from peers and his superiors and

outstanding performance evaluations, which, in turn, earned him several

promotions, raises in his salary, and bonuses.

        13.   Mr. Henretta was devoted to his career at FCA and agreed to

relocate five times in order to meet company needs.

        14.   In 2005, Mr. Henretta was promoted to the position of Manager of

Retail Advertising and held this position until his termination in 2019.


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      15.   As a Manager of Retail Advertising, Mr. Henretta was responsible

for coordinating with advertising agencies to develop advertising campaigns to

meet brand goals for a particular FCA vehicle brand.

      16.   From approximately 2006 to 2008, Mr. Henretta managed the

retail advertising for the Chrysler brand.

      17.   In recognition for Mr. Henretta’s excellent performance, in or

around 2009, Mr. Henretta was tasked with handling the retail advertising for

the Jeep brand and its six vehicles.

      18.   Advertising for the Jeep brand required the most responsibility and

held the highest prestige of the brands, because it routinely achieved between

50,000–72,000 retail sales per month, compared to the Chrysler Brand that

typically made 8,000 -10,000 retail sales per month.

      19.   Mr. Henretta excelled in this position receiving consistent excellent

evaluations and yearly merit increases to his salary.

      20.   Mr. Henretta was highly valued by his supervisors who made him

an “Ambassador” to serve as a mentor to new employees.

      21.   Mr. Henretta also served as a distinguishing member of the FCA

Diversability Team throughout his disabled years at FCA and at the time of his

firing he served on the board of a newly formed FCA diversity initiative headed-

up by FCA’s Diversity Group.


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     22.     Mr. Henretta further garnered considerable positive publicity for

FCA through his regular participation in company sponsored charity events and

interviews, with publications like Forbes Magazine, during which he discussed

working at FCA as a paraplegic.

     23.     One such company sponsored event that Mr. Henretta participated

in, earning FCA significant positive publicity, was The Dodge Million Dollar

Challenge in which he cycled, with his hands, more than 620 miles to raise

money for the Challenged Athletes Foundation in 2011, 2012 and 2013.

               Mr. Henretta’s New Supervisor Discriminates
                    Against and Harasses Mr. Henretta

     24.     In the Summer of 2017, Bruce Velisek (“Velisek”) was named to the

position of Director of Retail Marketing and became Mr. Henretta’s supervisor.

     25.     Within a week of becoming Mr. Henretta’s supervisor, Mr. Henretta

met with Velisek and disclosed that he required intermittent leave in order to

deal with digestive issues and stomach pain related to his paraplegia. At that

point, Velisek did not state any problems or concerns.

     26.     Immediately upon becoming Mr. Henretta’s supervisor, Velisek

began treating Mr. Henretta in a hostile and disparate manner by, among other

things:

          a. Frequently yelling at Mr. Henretta;



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         b. Issuing unjustified complaints about Mr. Henretta’s job
            performance, such as, his work product “sucked” and was “the
            poorest” in his group, though Mr. Henretta continued to receive
            praise from his peers and positive performance evaluations;

         c. Making public degrading statements about Mr. Henretta and his
            performance;

         d. Treating Mr. Henretta in a cold and distant manner wholly unlike
            the manner he treated Mr. Henretta’s peers making it nearly
            impossible for Mr. Henretta to perform his job responsibilities;

         e. Questioning Mr. Henretta’s peers as to what work he was
            performing suggesting he was lying about what he reported to
            Velisek;

         f. Purposefully singling out Mr. Henretta in front of his peers in order
            to embarrass him; and

         g. Purposefully excluding Mr. Henretta from extracurricular outings
            to which Mr. Henretta’s peers were invited.

      27.   In or around July or August of 2017, Velisek humiliated Mr.

Henretta in front of his peers saying, “Marc, I’m going to have to bump you off

this shoot. That way I know I’ll come back with all the right shots,” though Mr.

Henretta had been successfully handling the brand and never had any issues

with a commercial shoot.

      28.   In or around September of 2017, Velisek removed Mr. Henretta

from a commercial shoot and instructed him to return home a day early. Velisek

never permitted Mr. Henretta to return to a commercial shoot again, making it




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difficult for Mr. Henretta to perform his job responsibilities. Meanwhile, Mr.

Henretta’s peers continued to attend commercial shoots.

         29.   Upon information and belief, Mr. Henretta is the only Manager of

Retail Advertising to be sent home early from a commercial shoot.

         30.   In or around August or September of 2017, Velisek removed Mr.

Henretta from the Jeep brand, despite his successful handling of the brand and

assigned him to the Chrysler brand.

         31.   Unlike the Jeep brand, Chrysler only had one vehicle to advertise.

         32.   By contrast, Velisek assigned several brands, including Dodge, Fiat,

and Alfa Romeo, to a new hire whom Mr. Henretta was mentoring.

         33.   In or around February of 2018, Mr. Henretta again received an

excellent performance evaluation, a rating of “5,” for the 2017 work year.

         34.   Following Mr. Henretta’s outstanding performance evaluation, on

or around February 26, 2018, Velisek told Mr. Henretta, “You see this 5 on your

review? You wouldn’t have gotten that without the calibration process

[referring to the company’s peer review evaluation process] because I think

you’re stupid and lazy.”

         35.   Despite his excellent evaluation, Mr. Henretta did not receive a

raise in his salary, though he had received annual raises in the preceding three

years.


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      36.    On or around March 23, 2018, in the midst of a meeting amongst

Mr. Henretta’s peers, Velisek turned to Mark Malmstead, Head of Dodge Brand

Operations, and loudly asked, “Hey, can you take Henretta off my hands? He’s

terrible.”

                  Mr. Henretta Complains of Discrimination

      37.    Learning of Velisek’s public comment, Mr. Henretta sought out

guidance from Human Resources (“HR”) and spoke with HR Business Partner

Kristen Welch (“Welch”) about Velisek treating him differently than his non-

disabled peers.

      38.    Mr. Henretta told Welch that Velisek was bullying and

discriminating against him because of his disability and that Velisek treated

him adversely in comparison to his peers.

      39.    On April 13, 2018, Mr. Henretta followed up with Welch writing a

lengthy email to her about how Velisek’s behavior was unchanged, that he

suspected he was being retaliated against for his earlier complaint to Welch,

and he was consequently going to issue an internal complaint of discrimination

and harassment with the Equal Employment Opportunity Compliance Office

(“EEO Compliance Office”).




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      40.   Shortly thereafter, Mr. Henretta met with Welch and Valencia

Deloach (“Deloach”) from the FCA EEO Compliance Office and complained that

Velisek treated him in a hostile manner because of his status as a paraplegic.

      41.   On June 25, 2018, the FCA EEO Compliance Office issued a finding

that there was insufficient evidence to support a conclusion of discrimination.

      42.   Following Mr. Henretta’s complaints to Human Resources and the

FCA EEO Compliance Office, Velisek’s behavior continued and worsened.

      43.   Velisek purposefully excluded Mr. Henretta from meetings and off-

site extracurricular events to which his peers were invited, and repeatedly

questioned whether Mr. Henretta was performing his responsibilities.

      44.   Velisek also began tracking Mr. Henretta’s comings and goings.

      45.   Velisek did not track the comings and goings of Mr. Henretta’s

peers.

      46.   In the Fall of 2018, Mr. Henretta circulated a newspaper article

highlighting his involvement in a drag racing event to management, including

Chief Marketing Officer Olivier Francois (“Francois”). Approximately ten

minutes later, Velisek, who was not copied on the e-mail, emerged from his

office pounding his chest and mockingly said to Mr. Henretta, “Did you hear

back from Olivier yet? I did and you won’t be!”




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      47.   Upon information and belief, Francois and HR directed Velisek and

management personnel not to communicate with Mr. Henretta after he

complained to FCA’s EEO Compliance Office of discrimination.

      48.   In the Fall of 2018, Mr. Henretta again met with Welch and a FCA

EEO Compliance Office representative and complained that management,

including Francois, was retaliating against him for issuing his previous

complaint of discrimination by excluding him and not communicating with him,

citing the aforementioned exchange with Velisek.

      49.   Human Resources and the EEO Compliance Office failed to conduct

an effective investigation into Mr. Henretta’s allegations and issued a finding,

on December 18, 2018, that management had not retaliated against him.

               Mr. Henretta is Terminated and Advised it is
                Due to Absences Related to his Disability

      50.   Within a few weeks, on January 17, 2019, Welch met with Mr.

Henretta and advised him that his attendance record from the previous year,

during which he had been absent as a result of his digestive issues and stomach

pain, was unacceptable.

      51.   Mr. Henretta informed Welch that his absences were largely due to

digestive issues and stomach pain related to his paraplegia and were typically

covered by vacation days.



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      52.   Welch did not inquire as to what accommodations Mr. Henretta

may need in order to cope with his disability or advise Mr. Henretta of his right

to intermittent leave under the FMLA.

      53.   In March of 2019, Mr. Henretta began to suffer from significant pain

in his hands as a result of degeneration related to his paraplegia.

      54.   Mr. Henretta consequently missed approximately ten days of work

in March of 2019 due to the pain in his hands and stomach pain for which he

sought medical treatment.

      55.   Following Mr. Henretta’s return to work, Velisek and Welch met

with Mr. Henretta and alleged that his attendance issues were affecting his

performance but failed to provide any specific examples because this was

simply untrue.

      56.   Throughout the course of his career of more than thirty years, Mr.

Henretta never received a disciplinary action for poor performance.

      57.   On April 1, 2019, Welch and Velisek met with Mr. Henretta and

issued him a Final Written Warning with regard to his attendance warning that

he would be terminated from his position following his next absence.

      58.   Most, if not all, of the absences cited in Welch’s April 1st letter were

related to Mr. Henretta’s disability.

      59.   Mr. Henretta’s absences did not affect his job performance.


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      60.   Mr. Henretta did not incur more absences in 2018 and 2019 than

he had in previous years.

      61.   Mr. Henretta’s peers were not issued disciplinary letters despite

being late or absent in 2018 and 2019.

      62.   During the April 1, 2019 meeting, Mr. Henretta explained that the

absences he was being penalized for were due to stomach pain and his hands,

both of which were related to his disability.

      63.   Mr. Henretta further advised Welch and Velisek that he was

scheduling surgery on his wrists in order to deal with the issues he was

experiencing with his hands.

      64.   FCA later approved Mr. Henretta’s application for short-term

disability, which excused several of his March 2019 absences, but FCA did not

pay him for these days unlike absences in prior years.

      65.   Following the April 1, 2019 meeting, Velisek completely shut out

Mr. Henretta refusing to speak with him or relay assignments, while continuing

to speak with and relay assignments to his peers.

      66.   Mr. Henretta’s hands continued to degenerate and cause him

significant pain in April of 2019, which rendered him unable to dress himself,

wheel his chair, and come into work.




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      67.   Mr. Henretta continued to advise Velisek for the basis of his

absences.

      68.   On April 25, 2019, Welch e-mailed Mr. Henretta repeating that his

absences, which were related to his disability, were unacceptable.

      69.   Welch’s April 25th e-mail further required that Mr. Henretta submit

FMLA paperwork in relation to his hands within ten days or face termination.

      70.   On May 10, 2019, Mr. Henretta submitted his FMLA paperwork

with regard to his hands and FCA subsequently approved him for intermittent

leave under the FMLA.

      71.   At the time Mr. Henretta submitted his FMLA paperwork covering

his hands, Welch did not inform Mr. Henretta that his digestive issues and

stomach pain, related to his paraplegia, may be a qualifying medical condition

under the FMLA and entitle him to intermittent leave.

      72.   In June 13 of 2019, Mr. Henretta was late to work due to car trouble.

Velisek did not believe that Mr. Henretta had car problems.

      73.   On June 17, 2019, Mr. Henretta was absent from work due to

digestive issues and stomach pain related to his paraplegia.

      74.   On June 18, 2019, Welch issued Mr. Henretta a Last Chance

Warning advising him that his next unauthorized absence would result in his

termination.


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      75.   In a meeting with Velisek and Welch on June 20, 2019, they

informed Mr. Henretta that he had been approved for intermittent medical

leave under the FMLA with regard to his hands, but that he would not be paid

for absences covered under FMLA.

      76.   Mr. Henretta had always been paid when absent from work before

Velisek became his supervisor.

      77.   On July 26, 2019, Mr. Henretta was absent from work due to

stomach pain related to his paraplegia.

      78.   On July 28, 2019 and July 29, 2019, Mr. Henretta advised Velisek

and Welch that his hand surgery had been scheduled for August 13, 2019.

      79.   On August 5, 2019, Velisek and Welch met with Mr. Henretta, at a

1:00 p.m. scheduled to discuss Mr. Henrett’a upcoming August 13, 2019

surgery, and terminated his employment citing as the basis for his termination

his absence of July 26, 2019, on which date Mr. Henretta had been absent

because of digestive issues and stomach pain related to his paraplegia.

      80.   Mr. Henretta’s termination was just eight days before his scheduled

surgery, which Welch and Velisek were fully apprised of, and for which Mr.

Henretta had been approved for short-term disability.

      81.   Mr. Henretta’s termination was motivated by animus on the basis

of disability and in retaliation for opposing a violation of his civil rights,


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requesting accommodation for his disability and requesting medical leave

under the FMLA.

      82.    FCA could have accommodated Mr. Henrett’a disability by, among

other things, allowing him to work remotely and take medical leave, without

suffering undue hardship.

                            COUNT I
    VIOLATIONS OF THE FAMILY AND MEDICAL LEAVE ACT (“FMLA”)

      83.    Plaintiff incorporates by reference all the allegationscontained above asthough

stated in full herein.

      84.    At all times relevant hereto, Plaintiff was an employee and

Defendant an employer within the meaning of the Family and Medical Leave

Act (“FMLA”), 29 U.S.C. §2601, et seq.

      85.    Plaintiff fell within the protection of the FMLA as a person with a

serious health condition. 29 U.S.C. §2612(a)(1)(C).

      86.    At all times relevant hereto, Plaintiff suffered from a serious health

condition in that he had a physical condition that required continuing

treatment from a healthcare provider.

      87.    Under the FMLA, Defendant had an obligation to inform Plaintiff of

his rights under the FMLA.




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      88.   Under the FMLA, Defendant had an obligation to provide Plaintiff

with up to 12 weeks of continuous or intermittent leave for a serious health

condition which rendered Plaintiff unable to perform the functions of his

position.

      89.   In addition, Defendant is prohibited under the FMLA from

retaliating against Plaintiff for requesting and/or taking FMLA leave.

      90.   Notwithstanding Defendant’s duties as set forth above, Defendant

willfully violated the FMLA by failing to inform Plaintiff of his rights under the

FMLA, failing to provide Plaintiff with intermittent leave to cope with his

paraplegia, and by terminating Plaintiff’s employment for requesting and/or

taking FMLA leave.

      91.   As a direct and approximate result of Defendant’s violations of the

FMLA, Plaintiff has and will continue to be deprived of wage loss, fringe

benefits, status, seniority, and other advantages of employment; Plaintiff has,

and in the future, will experience mental anguish, humiliation, and

embarrassment, resulting from Defendant’s violations of the FMLA.

      Accordingly, Plaintiff requests the following relief:

            a.    An order reinstating Plaintiff to his former
                  position or a comparable position;

            b.    An Order of this Court awarding Plaintiff liquidated
                  damages in accordance with the FMLA;


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            c.     An Order of this Court awarding Plaintiff
                   compensatory damages in an amount in excess of
                   $75,000.00 he is found to be entitled to;

            d.     An Order of this Court awarding Plaintiff interest,
                   costs, and attorney fees;

            e.     An Order of this Court awarding Plaintiff such other
                   equitable relief as this Court deems just and equitable.

                                 COUNT II
               VIOLATIONS OF MICHIGAN’S PERSONS WITH
               DISABILITIES CIVIL RIGHTS ACT (“PDCRA”)
  (Disability Discrimination, Failure to Accommodate and Retaliation)

      92.   Plaintiff incorporates all of the foregoing allegations by reference

as though stated in full herein.

      93.   At all relevant times, Plaintiff was an employee and Defendant was

an employer within the meaning of Michigan’s PDCRA, M.C.L. §37.1101, et seq.

                           Disability Discrimination

      94.   The PDCRA makes it unlawful for an employer to discriminate

against a qualified individual because the individual has a disability, a record of

a disability, or because the employer regards the individual as disabled.

      95.   At all times relevant to this action, Plaintiff was a qualified

individual with a disability pursuant to the PDCRA who, with or without

accommodation, could perform the essential functions of his position as a

Manager of Retail Advertising.


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      96.     Plaintiff was an individual with a disability within the meaning of

the PDCRA, in that he had a physical impairment that substantially limits one

or more of his major life activities, who with or without accommodation could

perform the essential functions of his job with Defendant and/or Plaintiff had a

record of such a disability and/or was regarded by Defendant as having such a

disability.

      97.     Plaintiff’s disability was paraplegia.

      98.     Notwithstanding said duties as set forth above, Defendant

discriminated against Plaintiff because of his disability and/or because it

regarded Plaintiff as disabled and/or because Plaintiff had a history of a

disability when it terminated Plaintiff’s employment.

                             Failure to Accommodate

      99.     The PDCRA further requires employers to engage in a meaningful

interactive    process     with    employees     with   regard   to    reasonable

accommodations.

      100. At all times relevant hereto, Defendant had a duty under the PDCRA

to accommodate Plaintiff for purposes of employment unless the

accommodation would impose an undue hardship. Defendant’s duty to

accommodate Plaintiff includes, but is not limited to, providing Plaintiff with

medical leave.


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      101. At all times relevant hereto, Defendant could have accommodated

Plaintiff’s disability without suffering an undue hardship.

                                  Retaliation

      102. At all times relevant hereto, Defendant had a duty not to retaliate

against Plaintiff with respect to his employment, compensation or terms,

conditions or privileges of employment, or to limit, segregate, or classify

Plaintiff for employment in any way which deprived or tended to deprive

Plaintiff of employment opportunities or otherwise adversely affect the

employment status of Plaintiff, in retaliation for his requesting accommodation

and/or complaining of disability discrimination.

      103. Notwithstanding said duties as set forth above, Defendant

retaliated against Plaintiff for requesting accommodation and/or complaining

of disability discrimination when it terminated his employment.

      104. As a direct and approximate result of Defendant’s conduct, Plaintiff

has suffered and will continue to suffer lost wages, and other economic

advantages of employment; Plaintiff has and will continue to suffer mental

anguish, humiliation, , embarrassment, and emotional distress, loss of status in

his chosen profession, and pain and suffering.

      Accordingly, Plaintiff requests the following relief:




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       a.   An order reinstating Plaintiff to his former position or
            a comparable position;

       b.   An order awarding Plaintiff compensation in an
            amount he is found to be entitled to;

       c.   An order awarding Plaintiff interest, costs, attorney
            fees and litigation expenses as provided for under the
            PDCRA;

       d.   An order granting Plaintiff such other relief as the
            court deems just and equitable.




                                    Respectfully submitted,

                                    Pitt McGehee Palmer & Rivers PC

                                 By: /s/ Channing Robinson-Holmes
                                    Michael L. Pitt (P24429)
                                    Channing Robinson-Holmes (P81698)
                                    Attorneys for Plaintiff
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                                    crobinson@pittlawpc.com

Dated: February 19, 2020




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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

Marc Henretta,

            Plaintiff,                       Case No.:
                                             Hon.
      vs.

FCA Group LLC,

            Defendant.

 Michael L. Pitt (P24429)
 Channing Robinson-Holmes (P81698)
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                                JURY DEMAND

      Plaintiff herein demands a trial by jury of all issues to the within cause of

action.




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                                   Respectfully submitted,

                                   Pitt McGehee Palmer & Rivers PC

                                By: /s/ Channing Robinson-Holmes
                                   Michael L. Pitt (P24429)
                                   Channing Robinson-Holmes (P81698)
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Dated: February 19, 2020




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JS 44 (Rev. 11/15)                                                          CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                              DEFENDANTS
          Marc Henretta                                                                                         FCA Group LLC
    (b) County of Residence of First Listed Plaintiff               Oakland                                    County of Residence of First Listed Defendant                 Oakland
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                          THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)
          Channing Robinson-Holmes (P81698)
          Pitt McGehee Palmer & Rivers PC
          117 W. 4th Street, Suite 200
          Royal Oak, MI 48067 (248) 398-9800
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                           (For Diversity Cases Only)                                            and One Box for Defendant)
’ 1    U.S. Government                X
                                      ’ 3      Federal Question                                                                     PTF           DEF                                           PTF      DEF
         Plaintiff                               (U.S. Government Not a Party)                        Citizen of This State         ’ 1           ’ 1       Incorporated or Principal Place      ’ 4      ’ 4
                                                                                                                                                              of Business In This State

’ 2    U.S. Government                ’ 4      Diversity                                              Citizen of Another State          ’ 2        ’    2   Incorporated and Principal Place    ’ 5     ’ 5
         Defendant                               (Indicate Citizenship of Parties in Item III)                                                                 of Business In Another State

                                                                                                      Citizen or Subject of a           ’ 3        ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                        Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
           CONTRACT                                              TORTS                                  FORFEITURE/PENALTY                             BANKRUPTCY                    OTHER STATUTES
’   110 Insurance                         PERSONAL INJURY                PERSONAL INJURY              ’ 625 Drug Related Seizure             ’ 422 Appeal 28 USC 158            ’ 375 False Claims Act
’   120 Marine                       ’    310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881           ’ 423 Withdrawal                   ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’    315 Airplane Product               Product Liability        ’ 690 Other                                  28 USC 157                         3729(a))
’   140 Negotiable Instrument                  Liability               ’ 367 Health Care/                                                                                       ’ 400 State Reapportionment
’   150 Recovery of Overpayment      ’    320 Assault, Libel &               Pharmaceutical                                                    PROPERTY RIGHTS                  ’ 410 Antitrust
        & Enforcement of Judgment              Slander                       Personal Injury                                                 ’ 820 Copyrights                   ’ 430 Banks and Banking
’   151 Medicare Act                 ’    330 Federal Employers’             Product Liability                                               ’ 830 Patent                       ’ 450 Commerce
’   152 Recovery of Defaulted                  Liability               ’ 368 Asbestos Personal                                               ’ 840 Trademark                    ’ 460 Deportation
        Student Loans                ’    340 Marine                         Injury Product                                                                                     ’ 470 Racketeer Influenced and
        (Excludes Veterans)          ’    345 Marine Product                 Liability                            LABOR                          SOCIAL SECURITY                      Corrupt Organizations
’   153 Recovery of Overpayment                Liability                PERSONAL PROPERTY             ’ 710 Fair Labor Standards             ’   861 HIA (1395ff)               ’ 480 Consumer Credit
        of Veteran’s Benefits        ’    350 Motor Vehicle            ’ 370 Other Fraud                     Act                             ’   862 Black Lung (923)           ’ 490 Cable/Sat TV
’   160 Stockholders’ Suits          ’    355 Motor Vehicle            ’ 371 Truth in Lending         ’ 720 Labor/Management                 ’   863 DIWC/DIWW (405(g))         ’ 850 Securities/Commodities/
’   190 Other Contract                        Product Liability        ’ 380 Other Personal                  Relations                       ’   864 SSID Title XVI                   Exchange
’   195 Contract Product Liability   ’    360 Other Personal                 Property Damage          ’ 740 Railway Labor Act                ’   865 RSI (405(g))               ’ 890 Other Statutory Actions
’   196 Franchise                             Injury                   ’ 385 Property Damage          ’ 751 Family and Medical                                                  ’ 891 Agricultural Acts
                                     ’    362 Personal Injury -              Product Liability               Leave Act                                                          ’ 893 Environmental Matters
                                              Medical Malpractice                                     ’ 790 Other Labor Litigation                                              ’ 895 Freedom of Information
        REAL PROPERTY                       CIVIL RIGHTS                PRISONER PETITIONS            ’ 791 Employee Retirement                FEDERAL TAX SUITS                      Act
’   210 Land Condemnation            ’    440 Other Civil Rights         Habeas Corpus:                     Income Security Act              ’ 870 Taxes (U.S. Plaintiff        ’ 896 Arbitration
’   220 Foreclosure                  ’    441 Voting                   ’ 463 Alien Detainee                                                         or Defendant)               ’ 899 Administrative Procedure
’   230 Rent Lease & Ejectment       ’    442 Employment               ’ 510 Motions to Vacate                                               ’ 871 IRS—Third Party                    Act/Review or Appeal of
’   240 Torts to Land                ’    443 Housing/                       Sentence                                                               26 USC 7609                       Agency Decision
’   245 Tort Product Liability                Accommodations           ’ 530 General                                                                                            ’ 950 Constitutionality of
’   290 All Other Real Property      X’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                               State Statutes
                                              Employment                 Other:                       ’ 462 Naturalization Application
                                     ’    446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration
                                              Other                    ’ 550 Civil Rights                   Actions
                                     ’    448 Education                ’ 555 Prison Condition
                                                                       ’ 560 Civil Detainee -
                                                                             Conditions of
                                                                             Confinement
V. ORIGIN (Place an “X” in One Box Only)
X’ 1   Original
       Proceeding
                         ’ 2 Removed from
                             State Court
                                                           ’ 3         Remanded from
                                                                       Appellate Court
                                                                                                 ’ 4 Reinstated or
                                                                                                     Reopened
                                                                                                                         ’ 5 Transferred from
                                                                                                                             Another District
                                                                                                                                                            ’ 6 Multidistrict
                                                                                                                                                                Litigation
                                                                                                                                 (specify)
                                           Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                                                                                                                                                   28 U.S.C. § 1367
VI. CAUSE OF ACTION Brief description of cause:
                                                                             Disability discrimination
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                  DEMAND $                                       CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                       JURY DEMAND:         X
                                                                                                                                                                             ’ Yes     ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                                 DOCKET NUMBER
DATE
       February 19, 2020                                                  SIGNATURE OF ATTORNEY OF RECORD
                                                                                                                          /s/ Channing Robinson-Holmes
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                      APPLYING IFP                                      JUDGE                              MAG. JUDGE
